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       June 9, 2023

       Via ECF

       Honorable Judge Frederic Block
       United States District Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

       Re:     Radix et al., v. Kensington International Inc. et al.; Case No. 1:22-cv-06632

Dear Judge Block:

        We represent Plaintiffs in the above-referenced case. We write pursuant to Section 2.A of
Your Honor’s Individual Practices and Rules to request a pre-motion conference to move for
dismissal of three of Defendants Ricardo Black and Ultimate Better World Solutions LLC’s
(together, “UBWS Defendants”) counterclaims against Plaintiffs Cheryl Radix, Audra Heaven,
and Jigar Patel (“Plaintiffs”) under Fed. R. Civ. P. 12(b)(1) and Fed. R. Civ. P. 12(b)(6). UBWS
Defendants have asserted counterclaims for malicious prosecution, breach of contract, fraudulent
inducement and contribution. We submit that the first three of these claims fail to state a cause of
action. For the Court’s reference, we have attached the Counterclaims as Exhibit A hereto (excerpts
from Defendants’ Answer at ECF 15).

        UBWS Defendants’ claim for malicious prosecution should be dismissed because it
requires a showing that the civil action was “begun with malice” and “without probable cause to
believe it can succeed,” and, most importantly, such action “ends in failure or, in other words,
terminates in favor of the [malicious prosecution] plaintiff.” See, e.g., Huerta v. 101 N.
Laundromat Inc., 2023 WL 199699, at *2 (E.D.N.Y. Jan. 17, 2023). Here, UBWS Defendants
merely speculate that the present lawsuit “will ultimately be terminated and decided in favor of the
Counterclaim Plaintiffs.” See Answer and Counterclaims (ECF No. 15) at ¶ 333. UBWS
Defendants have failed to and cannot plead that this still-pending action has terminated in their
favor. Black-letter law on this issue compels dismissal. See, e.g., Engel v. CBS, Inc., 145 F.3d 499,
502 (2d Cir. 1998).

        UBWS Defendants’ second and third counterclaims—for fraudulent inducement and
breach of contract—should both be dismissed under Fed. R. Civ. P. 12(b)(1) because these claims
are expressly asserted on behalf of “prospective investors” (Ex. A, ¶ 341) who the Kensington
Enterprise (i.e., other defendants in this case) targeted. UBWS Defendants obviously lack standing
to assert these claims. There does not appear to be any allegation that UBWS Defendants (as
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opposed to the “prospective investors”) suffered actual harm or injury from the allegedly
fraudulent representations. Similarly, UBWS Defendants’ breach of contract claim seems to lack
any allegation that there was even a contract between Plaintiffs and UBWS Defendants. The claims
are nonsensical when asserted by UBWS.

        We have made strenuous efforts to negotiate with UBWS Defendants’ counsel for a
withdrawal of these three claims, going so far as to detail the above-reference defects in multiple
calls and emails. UBWS Defendants’ counsel has indicated a willingness to withdraw the second
and third counterclaims but has refused to withdraw the claim for malicious prosecution. We hope
this issue can be resolved by further discussion at pre-motion conference rather than through
internecine motion practice.

       For the reasons detailed above and others, Plaintiffs respectfully request that the Court
schedule a pre-motion conference to address their proposed motion to dismiss.

                                                     Respectfully submitted,


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Enclosures:
   • Ex. A – UBWS Defendants’ Counterclaims (excerpts of Defendants’ Answer at ECF 15)
